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22 CALIFORNIA COALITION FOR WOMEN                        Case No. 4:23-cv-04155-YGR
     PRISONERS et al.,                                   DECLARATION OF KARA J.
23                                                       JANSSEN IN SUPPORT OF
                        Plaintiffs,
                                                         PLAINTIFFS’ UNOPPOSED MOTION
24                 v.                                    FOR PRELIMINARY APPROVAL OF
                                                         PROPOSED CONSENT DECREE
25 UNITED STATES OF AMERICA FEDERAL
     BUREAU OF PRISONS et al.,                           Date:     December 17, 2024
26                                                       Time:     2:00 p.m.
                        Defendants.                      Crtrm.: 1, 4th Floor
27                                                       Judge: Hon. Yvonne Gonzalez Rogers
28                                                       Trial Date:       June 23, 2025
     [4614671.4]                                                        Case No. 4:23-cv-04155-YGR
            DECLARATION OF KARA J. JANSSEN IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR
                        PRELIMINARY APPROVAL OF PROPOSED CONSENT DECREE
     Case 4:23-cv-04155-YGR               Document 438-1      Filed 12/06/24    Page 2 of 2




 1                 I, Kara J. Janssen, declare:
 2                 1.     I am an attorney duly admitted to practice before this Court. I am a Senior
 3 Counsel in the law firm of Rosen Bien Galvan & Grunfeld LLP, counsel of record for
 4 Plaintiffs and the Class. I have personal knowledge of the facts set forth herein, and if
 5 called as a witness, I could competently so testify. I make this declaration in support of
 6 Plaintiffs’ Unopposed Motion for Preliminary Approval of the Proposed Consent Decree.
 7                 2.     Following extensive settlement negotiations, the parties reached agreement
 8 on a Proposed Consent Decree. Exhibit 1 is a true and correct copy of the Proposed
 9 Consent Decree.
10                 3.     Exhibit 2 is a true and correct copy of the Proposed Notice to Class
11 Members.
12                 4.     Throughout the litigation of this case, the parties have been zealously
13 represented by experienced counsel. The Proposed Consent Decree, if approved by the
14 Court, will resolve all claims for injunctive relief raised in Plaintiffs’ Complaint. In
15 contrast, additional litigation would involve uncertainty and delay for all parties and pose
16 significant risk.
17                 I declare under penalty of perjury under the laws of the United States of America
18 that the foregoing is true and correct, and that this declaration is executed at San Francisco,
19 California this 6th day of December, 2024.
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21                                                        /s/ Kara J. Janssen
                                                          Kara J. Janssen
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     [4614671.4]                                  1                     Case No. 4:23-cv-04155-YGR
            DECLARATION OF KARA J. JANSSEN IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR
                        PRELIMINARY APPROVAL OF PROPOSED CONSENT DECREE
